       Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.1 Page 1 of 60



 1   WILLIAM C. SCHROEDER, WSBA 41986
 2   KSB LITIGATION, P.S.
     510 W. Riverside Ave., Ste. 300
 3   Spokane, WA, 99201
 4   (509) 624-8988
     wcs@KSBlit.legal
 5
     Plaintiff
 6
 7
                      UNITED STATES DISTRICT COURT
 8                   EASTERN DISTRICT OF WASHINGTON
 9
10    WILLIAM C. SCHROEDER, an                No.
11    individual,
                                              COMPLAINT FOR
12
                                Plaintiff,    DECLARATORY RELIEF
13    v.                                      RE: 2 U.S.C. § 2a(a); U.S. CONST.
14                                            Art. I, § 2; and Art. II, § 1
      UNITED STATES OF
15    AMERICA,                                [Three Judge Panel Requested
16                                            pursuant to 28 U.S.C. § 2284(a)]
                           Defendant.
17
18
           COMES NOW the above-named Plaintiff, who seeks a declaratory
19
     judgment that 2 U.S.C. § 2a(a), which permanently limits the House of
20
21   Representatives to its size as of 1912 [435 members], deprives citizens

22   of their constitutional rights to equal representation in the House of
23   Representatives [U.S.CONST., Art. I, § 2], and to equal representation in
24   the electoral college for the presidency [U.S.CONST., Art. II, § 1], and is
25
     not consistent with the Supreme Court’s ‘one person, one vote’
26
     jurisprudence.
27
28
     COMPLAINT - 1
       Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.2 Page 2 of 60



 1
                                      PARTIES
 2
           1.    Plaintiff William C. Schroeder is a natural born citizen who
 3
 4   resides within the Eastern District of Washington and has registered
 5   to vote in Washington state.
 6         2.    Defendant is the United States of America. F.R.Civ.P. 4(i).
 7
                           JURISDICTION AND VENUE
 8
           3.    “The district courts shall have original jurisdiction of all civil
 9
     actions arising under the Constitution, laws, or treaties of the United
10
11   States.” 28 U.S.C. § 1331.
12         4.    “The district courts shall have original jurisdiction of any
13   civil action authorized by law to be commenced by any person … To …
14
     secure equitable or other relief under any Act of Congress providing for
15
     the protection of civil rights, including the right to vote.” 28 U.S.C. §
16
     1343(a)(4).
17
18         5.    “The district courts shall have original jurisdiction … of …
19   Any other civil action or claim against the Unites States, not exceeding
20   $10,000 in amount, founded either upon the Constitution, or an Act of
21
     Congress[.]” 28 U.S.C. § 1346(a)(2).
22
           6.    Venue is proper in the Eastern District of Washington. See
23
     28 U.S.C. § 1391(e)(1)(C).
24
25         7.    “A district court of three judges shall be convened … when
26   an action is filed challenging the constitutionality of the apportionment
27   of congressional districts[.]” 28 U.S.C. § 2284(a).
28
     COMPLAINT - 2
       Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.3 Page 3 of 60



 1
                                FACTUAL HISTORY
 2
 3
            1787
 4          8.   Composition of the House of Representatives:
 5          The House of Representatives shall be composed of Members
            chosen every second Year by the People of the several States[.]
 6
            … Representatives … shall be apportioned among the several
 7          States which may be included within this Union, according to
 8          their respective …whole Number of [] Persons[.] … The actual
            Enumeration shall be made within three Years after the first
 9          Meeting of the Congress of the United States, and within
10          every subsequent Term of ten Years, in such Manner as they
            shall by Law direct. The Number of Representatives shall not
11          exceed one for every thirty Thousand, but each State shall
12          have at Least one Representative[.]
13   U.S.CONST., Art. I, § 2.

14          9.   “Each State shall appoint, in such Manner as the Legislature
15
     thereof may direct, a Number of Electors, equal to the whole Number
16
     of Senators and Representatives to which the State may be entitled in
17
     the Congress[.]” U.S.CONST., Art. II, § 1.
18
19          10. “The judicial Power of the United States, shall be vested in
20   one supreme Court, and in such inferior Courts as the Congress may
21   from time to time ordain and establish.” U.S.CONST., Art. III, § 1.
22
            11. “The Citizens of each State shall be entitled to all Privileges
23
     and Immunities of Citizens in the several States.” U.S.CONST., Art. IV,
24
     § 2.
25
26          12. “New States may be admitted by the Congress into this

27   Union; but no new State shall be formed or erected within the
28
     COMPLAINT - 3
       Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.4 Page 4 of 60



 1
     Jurisdiction of any other State … without the Consent of the
 2
     Legislature[] of the State[] concerned as well as of the Congress.”
 3
 4   U.S.CONST., Art. IV, § 3.

 5         1789
 6         13. On September 25, 1789, the First Congress proposed twelve
 7
     (12) “Articles” [of amendment] to the Constitution.
 8
           14. Articles 3 through 12 were ratified by three-fourths of the
 9
     state legislatures as of December 15, 1791, as the First through Tenth
10
11   Amendments. Article 2 was ratified in 1992, as the Twenty-Seventh
12   Amendment.
13         15. Article “the first”, never ratified, provides:
14
15        After the first enumeration required by the first article of the
          Constitution, there shall be one Representative for every
16        thirty thousand, until the number shall amount to one
17        hundred, after which the proportion shall be so regulated by
          Congress, that there shall be not less than one hundred
18        Representatives, nor less than one Representative for every
19        forty thousand persons, until the number of Representatives
          shall amount to two hundred; after which the proportion shall
20
          be so regulated by Congress, that there shall not be less than
21        two hundred Representatives, nor more than one
22        Representative for every fifty thousand persons.

23         16. The Constitution imposes no size restrictions upon the House

24   of Representatives, save that stated in Art. I, § 2.
25         17. The Judiciary Act of 1789 established a six-member Supreme
26   Court, comprised of one chief justice and five associate justices.
27
28
     COMPLAINT - 4
       Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.5 Page 5 of 60



 1
           1790
 2
           18. The first census counted 3,929,214 resident persons of the
 3
 4   thirteen (13) United States, as of August 2, 1790.
 5         1791
 6         19. “No person shall … be deprived of life, liberty, or property,
 7
     without due process of law[.]” U.S.CONST., Fifth Amend.
 8
           1792
 9
           20. “[T]he House of Representatives shall be composed of
10
11   members elected agreeably to a ratio of one member for every thirty-
12   three thousand persons in each state[.]” Apportionment Act of April 14,
13   1792, 2nd Cong., Sess. I, Ch. 23. [Attachment 1]
14
           1800
15
           21. The second census counted 5,308,483 resident persons in the
16
     sixteen (16) United States, as of August 4, 1800.
17
18         1802
19         22. “[T]he House of Representatives shall be composed of [141]
20   members elected agreeably to a ratio of one member for every thirty-
21
     three thousand persons in each state[.]” Apportionment Act of January
22
     14, 1802, 7th Cong., Sess. I, Ch. 1. [Att. 2]
23
24
           1804
25         23. The Twelfth Amendment modified Art. II, § 1, Cl. 3, by
26   specifying that each Elector must cast distinct votes for president and
27   vice president, instead of two votes for president.
28
     COMPLAINT - 5
       Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.6 Page 6 of 60



 1
           1807
 2
           24. The Seventh Circuit Act of 1807 increased the size of the
 3
 4   Supreme Court to seven (7) members.
 5         1810
 6         25. The third census counted 7,239,861 resident persons in the
 7
     seventeen (17) United States, as of August 6, 1810.
 8
           1811
 9
           26. “[T]he House of Representatives shall be composed of [181]
10
11   members elected agreeably to a ratio of one representative for every
12   thirty-five thousand persons in each state[.]” Apportionment Act of
13   December 21, 1811, 12th Cong., Sess. I, Ch. 9. [Att. 3]
14
           1820
15
           27. Maine became a state on March 15, 1820, with the consent of
16
     the legislature of the state of Massachusetts.
17
18         28. “[I]n the election of representatives in the seventeenth
19   Congress, the state of Massachusetts shall be entitled to choose
20   thirteen representatives only; and the state of Maine shall be entitled
21
     to choose seven representatives, according to the consent of the
22
     legislature of said state of Massachusetts[.]” 16th Cong., Sess. I, Ch. 39
23
     (April 7, 1820).
24
25         29. The fourth census counted 9,638,453 resident persons in the
26   twenty-three (23) United States, as of August 7, 1820.
27
28
     COMPLAINT - 6
       Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.7 Page 7 of 60



 1
           1822 – 1823
 2
           30. “[T]he House of Representatives shall be composed of [215]
 3
 4   members elected agreeably to a ratio of one representative for every
 5   forty-seven thousand persons in each state[.]” Apportionment Act of
 6   March 7, 1822, 17th Cong., Sess. I, Ch. 10 (March 7, 1822). [Att. 4]
 7
           1824 – 1825
 8
           31. Pursuant to the Twelfth Amendment, the House elected
 9
     John Quincy-Adams to the presidency.
10
11         1830
12         32. The fifth census counted 12,860,702 resident persons in the
13   twenty-four (24) United States, as of June 1, 1830.
14
           1832
15
           33. “[T]he House of Representatives shall be composed of [240]
16
     members, elected agreeably to a ratio of one representative for every
17
18   forty-seven thousand and seven hundred persons in each state[.]”
19   Apportionment Act of May 22, 1832, 22nd Cong., Sess. I, Ch. 91. [Att.
20   5]
21
           1840
22
           34. The sixth census counted 17,063,353 resident persons in the
23
     twenty-six (26) United States, as of June 1, 1840.
24
25         1842
26         35. “[T]he House of Representatives shall be composed of [223]
27   members elected agreeably to a ratio of one Representative for every
28
     COMPLAINT - 7
       Case 2:22-cv-00172-MKD   ECF No. 1    filed 07/18/22   PageID.8 Page 8 of 60



 1
     seventy thousand six hundred and eighty persons in each State, and of
 2
     one additional representative for each State having a fraction greater
 3
 4   than one moiety of the said ratio[.]” Apportionment Act of June 25,
 5   1842, 27th Cong., Sess. II, Ch. 47. [Att. 6]
 6         1850
 7
           36. The aggregate population of the United States “shall be
 8
     divided by the number two hundred and thirty-three [233], and the
 9
     product of such division … shall be the ratio, or rule of apportionment,
10
11   of representatives among the several States[.]” Census Act of 1850, 31st
12   Cong., Sess. I, Ch. 11, Sec. 25 (May 23, 1850). [Att. 7]
13         37. The seventh census counted 23,191,876 resident persons in
14
     the thirty (30) United States, as of June 1, 1850.
15
           1852
16
           38. “[T]he whole number of representatives is hereby increased
17
18   to two hundred thirty-four [234][.]” Apportionment Act of July 30, 1852,
19   32nd Cong., Sess. I, Ch. 74. [Att. 8]
20         1860
21
           39. The eighth census counted 31,443,321 resident persons in
22
     the thirty-three (33) United States, as of June 1, 1860.
23
24
           1862
25         40. “[T]he number of members of the House of Representatives
26   of the Congress of the United States shall be two hundred and forty-
27   one [241], and the eight additional members shall be assigned one each
28
     COMPLAINT - 8
       Case 2:22-cv-00172-MKD     ECF No. 1   filed 07/18/22   PageID.9 Page 9 of 60



 1
     to Pennsylvania, Ohio, Kentucky, Illinois, Iowa, Minnesota, Vermont,
 2
     and Rhode Island.” Apportionment Act of March 4, 1862, 37th Cong.,
 3
 4   Sess. II, Ch. 36. [Att. 9]
 5         1863
 6         41. The Supreme Court increased in size to ten (10) members.
 7
           1868
 8
           42. “Representatives shall be apportioned among the several
 9
     States according to their respective numbers, counting the whole
10
11   number of persons in each State[.]” U.S.CONST. Fourteenth Amend. § 2.
12         43. “All persons born or naturalized in the United States, and
13   subject to the jurisdiction thereof, are citizens of the United States and
14
     of the State wherein they reside.” U.S.CONST. Fourteenth Amend. § 1.
15
           44. Each citizen has a “right to vote at any election for the choice
16
     of electors for President and Vice-President of the United States,
17
18   Representatives in Congress, the Executive and Judicial officers of a
19   State, or the members of the Legislature thereof[.]” U.S.CONST.
20   Fourteenth Amend. § 2.
21
           1869
22
           45. The Judiciary Act of 1869 matched the size of the Supreme
23
     Court to the nine (9) then-existing U.S. Circuit Courts, comprised of one
24
25   (1) chief justice and eight (8) associate justices. [41st Cong., Sess. 1, Ch.
26   22; 16 Stat. 44]
27
28
     COMPLAINT - 9
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 1
          1870
 2
           46. “The right of citizens of the United States to vote shall not be
 3
 4   denied or abridged by the United States or by any State on account of
 5   race, color, or previous condition of servitude.” U.S.CONST., Fifteenth
 6   Amend., § 1 (February 3, 1870).
 7
           47. The ninth census counted 38,558,371 resident persons in the
 8
     thirty-seven (37) United States, as of June 1, 1870.
 9
10
           1872
11         48. “[T]he House of Representatives shall be composed of two
12   hundred and eighty-three [283] members, to be apportioned among the
13   several States in accordance with the provisions of this act[.]”
14
     Apportionment Act of February 2, 1872, 42nd Cong., Sess. II, Ch. 11,
15
     Sec. 1. [Att. 10]
16
           49. “[T]he following States shall be entitled to one [1]
17
18   representative each in the Congress of the United States in addition to
19   the number apportioned to such States by the act [of February 2, 1872],
20   to wit: New Hampshire, Vermont, New York, Pennsylvania, Indiana,
21
     Tennessee, Louisiana, Alabama, and Florida[.]” Apportionment Act of
22
     May 30, 1872, 42nd Cong., Sess. II, Ch. 239. [Att. 11]
23
24
           1876 – 1877
25         50. Samuel Tilden won the popular vote by 252,666 votes and
26   secured 184 electoral votes to Rutherford B. Hayes’ 165, but 20 electoral
27   votes from Florida, Louisiana, South Carolina, and Oregon were
28
     COMPLAINT - 10
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.11 Page 11 of 60



 1
     disputed. The resulting Compromise of 1877 saw the political parties
 2
     agree to award the disputed 20 electoral votes to Hayes, in exchange
 3
 4   for the end of Reconstruction.
 5         1880
 6         51. The tenth census counted 50,189,209 resident persons in the
 7
     thirty-eight (38) United States, as of June 1, 1880.
 8
           1882
 9
           52. “[T]he House of Representatives shall be composed of three
10
11   hundred and twenty-five [325] members, to be apportioned among the
12   several States as follows: [list][.]” Apportionment Act of February 25,
13   1882, 47th Cong., Sess. I, Ch. 20. [Att. 12]
14
           53. “[W]henever a new State is admitted to the Union the
15
     Representative or Representatives assigned to it shall be in addition to
16
     the number three hundred and twenty-five [325].” [Id.]
17
18         1888
19         54. Benjamin Harrison defeated Grover Cleveland, 233 electoral
20   votes to 168, but lost the popular vote by 90,596.
21
           1890
22
           55. The eleventh census counted 62,979,766 resident persons in
23
     the forty-two (42) United States, as of June 1, 1890.
24
25         1891
26         56. “[T]he House of Representatives shall be composed of three
27   hundred and fifty-six [356] members, to be apportioned among the
28
     COMPLAINT - 11
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 1
     several States as follows: [list] [.]” Apportionment Act of February 7,
 2
     1891, 51st Cong., Sess. II, Ch. 116. [Att. 13]
 3
 4         57. “[W]henever a new State is admitted to the Union the
 5   Representative or Representatives assigned to it shall be in addition to
 6   the number three hundred and fifty-six [356].” [Id.]
 7
           58. The Judiciary Act of 1891 reorganized the federal courts
 8
     system, changing the then-existing nine circuit courts into numbered
 9
     Courts of Appeals. The Supreme Court remained at nine (9) members.
10
11         1893
12         59. Congress created the Court of Appeals for the District of
13   Columbia but did not increase the size of the Supreme Court.
14
           1900
15
           60. The twelfth census counted 76,212,168 resident persons in
16
     the forty-five (45) United States, as of June 1, 1900.
17
18         1901
19         61. “[T]he House of Representatives shall be composed of three
20   hundred and eighty-six [386] members, to be apportioned among the
21
     several States as follows: [list] [.]” Apportionment Act of January 16,
22
     1901, 56th Cong., Sess. II, Ch. 93. [Att. 14]
23
           62. “[W]henever a new State is admitted to the Union the
24
25   Representative or Representatives assigned to it shall be in addition to
26   the number three hundred and eighty-six [386].” [Id.]
27
28
     COMPLAINT - 12
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 1
           1910
 2
           63. The thirteenth census counted 92,228,496 resident persons
 3
 4   in the forty-six (46) United States, as of April 15, 1910.
 5                                      1910
 6                                                       Average
                                       Number Change Population
 7                                     of Seats in Seats Per
 8        STATE             Population                   District
 9         New York         9,113,614     43          6           211,836
10         Pennsylvania     7,665,111     36          4           212,920
11         Illinois         5,638,591     27          2           208,837
12         Ohio             4,767,121     22          1           216,687
13         Texas            3,896,542     18          2           216,475
14         Massachusetts 3,366,416        16          2           210,401
15         Missouri         3,293,335     16          0           205,833
16
           Michigan         2,810,173     13          1           216,167
17
           Indiana          2,700,876     13          0           207,760
18
          Georgia           2,609,121     12          1           217,427
19
           New Jersey       2,537,167     12          2           211,431
20
21         California       2,377,549     11          3           216,051
22         Wisconsin        2,333,860     11          0           212,078
23         Kentucky         2,289,905     11          0           208,173
24         Iowa             2,224,771     11          0           202,252
25        North
          Carolina          2,206,287     10          0           220,629
26
           Tennessee        2,184,789     10          0           218,479
27
28
     COMPLAINT - 13
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.14 Page 14 of 60



 1
           Alabama         2,138,093      10          1           213,809
 2
           Minnesota       2,075,708      10          1           207,438
 3
           Virginia        2,061,612      10          0           206,161
 4
           Mississippi     1,797,114      8           0           224,639
 5
 6         Kansas          1,690,949      8           0           211,369
 7         Oklahoma        1,657,155      8           8           207,144
 8         Louisiana       1,656,388      8           1           207,049
 9         Arkansas        1,574,449      7           0           224,921
10        South
          Carolina         1,515,400      7           0           216,486
11
           Maryland        1,295,346      6           0           215,891
12
13         West Virginia   1,221,119      6           1           203,520

14         Nebraska        1,192,214      6           0           198,702
                                                                  228,027
15
           Washington      1,141,990      5           2           [Largest]
16         Connecticut     1,114,756      5           0           222,951
17
           Colorado        799,024        4           1           199,643
18
           Florida         752,619        4           1           188,155
19
           Maine           742,371        4           0           185,593
20
           Oregon          672,765        3           1           224,255
21
           South Dakota    583,888        3           1           191,892
22
23         North Dakota    577,056        3           1           191,468
24         Rhode Island    542,610        3           1           180,870
25        New
          Hampshire        430,572        2           0           215,286
26
           Montana         376,053        2           1           183,169
27
28
     COMPLAINT - 14
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 1
           Utah             373,351       2           1           185,932
 2
           Vermont          355,956       2           0           177,978
 3
           Idaho            325,594       2           1           161,720
 4
           Delaware         202,322       1           0           202,322
 5
 6         Wyoming          145,965       1           0           145,965
                                                                  80,293
 7         Nevada
                            81,875        1           0           [Smallest]
 8         Alaska                         X           X           X
 9
           Arizona                        X           X           X
10
           Hawaii                         X           X           X
11
           New Mexico                     X           X           X
12
13        ************** *********        ***         **          *******

14         United States    92,228,496 433            47          210,328
15         1911
16         64. “[T]he House of Representatives shall be composed of four
17
     hundred and thirty-three [433] Members, to be apportioned among the
18
     several States as follows: [list] [.]” Apportionment Act of August 8, 1911,
19
     62nd Cong., Sess. I, Ch. 5. [Att. 15]
20
21         65. “[I]f the Territories of Arizona and New Mexico shall become

22   States in the Union before the apportionment of Representatives under
23   the next decennial census they shall have one Representative each, and
24
     if one of such Territories shall so become a State, such State shall have
25
     one Representative, which Representative or Representatives shall be
26
27
28
     COMPLAINT - 15
     Case 2:22-cv-00172-MKD     ECF No. 1    filed 07/18/22   PageID.16 Page 16 of 60



 1
     in addition to the number four hundred and thirty-three, as provided
 2
     in section one of this Act[.]” [Id.]
 3
 4         1913
 5         66. “The Senate of the United States shall be composed of two
 6   Senators from each State, elected by the people thereof, for six years;
 7
     and each Senator shall have one vote. The electors in each State shall
 8
     have the qualifications requisite for electors of the most numerous
 9
     branch of the State legislatures.” U.S.CONST., Seventeenth Amend.
10
11         1920
12         67. The fourteenth census counted 106,021,537 resident persons
13   in the forty-eight (48) United States, as of January 1, 1920.
14
                                            1920
15                                                                    Average
                                            Number       Change
16                                                                    Population
                                            of Seats     in Seats
       STATE              Population                                  Per District
17
        New York          10,385,227        43           0            241,409
18
        Pennsylvania      8,720,017         36           0            242,223
19
20      Illinois          6,485,280         27           0            240,196
21      Ohio              5,759,394         22           0            261,791
22      Texas             4,663,228         18           0            259,068
23      Massachusetts 3,852,356             16           0            240,772
24      Michigan          3,668,412         13           0            282,186
25
        California        3,426,861         11           0            311,457
26
        Missouri          3,404,055         16           0            212,753
27
28
     COMPLAINT - 16
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 1
        New Jersey      3,155,900         12              0            262,992
 2
        Indiana         2,930,390         13              0            225,415
 3
       Georgia          2,895,832         12              0            241,319
 4
 5     Wisconsin        2,632,067         11              0            239,210
 6     North
       Carolina         2,559,123         10              0            255,912
 7
        Kentucky        2,416,630         11              0            219,694
 8
        Iowa            2,404,021         11              0            218,547
 9
        Minnesota       2,387,125         10              0            238,566
10
11      Alabama         2,348,174         10              0            234,817
12      Tennessee       2,337,885         10              0            233,789
13      Virginia        2,309,187         10              0            230,919
14      Oklahoma        2,028,283         8               0            253,535
15      Louisiana       1,798,509         8               0            224,814
16
        Mississippi     1,790,618         8               0            223,827
17
        Kansas          1,769,257         8               0            221,157
18
        Arkansas        1,752,204         7               0            250,315
19
       South
20     Carolina         1,683,724         7               0            240,532
21
        West Virginia   1,463,701         6               0            243,950
22
        Maryland        1,449,661         6               0            241,610
23
        Connecticut     1,380,631         5               0            276,126
24
25      Washington      1,356,621         5               0            270,919

26      Nebraska        1,296,372         6               0            216,062
27      Florida         968,470           4               0            242,118
28
     COMPLAINT - 17
     Case 2:22-cv-00172-MKD     ECF No. 1       filed 07/18/22   PageID.18 Page 18 of 60



 1
        Colorado           939,629          4               0            234,790
 2
        Oregon             783,389          3               0            261,130
 3
        Maine              768,014          4               0            192,004
 4
 5      North Dakota       646,872          3               0            214,651
 6      South Dakota       636,547          3               0            210,413
 7      Rhode Island       604,397          3               0            201,466
 8      Montana            548,889          2               0            270,756
 9
        Utah               449,396          2               0            224,194
10     New
11     Hampshire           443,083          2               0            221,542
12      Idaho              431,866          2               0            215,221
13                                                                       353,428
        New Mexico
                           360,350          1               1            [Largest]
14
        Vermont            352,428          2               0            176,214
15
        Arizona            334,162          1               1            309,495
16
        Delaware           223,003          1               0            223,003
17
18      Wyoming            194,402          1               0            193,487
19                                                                       75,820
        Nevada
                           77,407           1               0            [Smallest]
20
        Alaska                              X               X            X
21
        Hawaii                              X               X            X
22
23     ************** *********             ***             **           *******
24      United States      106,021,537 435                  0            241,864
25         68. “In 1920, the Census Bureau did transmit apportionment
26   counts to Congress, but Congress did not reapportion.” See n.2 at:
27   https://www.census.gov/data/tables/time-series/dec/apportionment-data-text.html

28
     COMPLAINT - 18
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.19 Page 19 of 60



 1
           69. “The right of citizens of the United States to vote shall not be
 2
     denied or abridged by the United States or by any State on account of
 3
 4   sex.” U.S.CONST., Nineteenth Amend. (August 18, 1920).
 5         1929
 6         70. “[T]he tabulation of total population by States as required for
 7
     the apportionment of Representatives shall be completed within eight
 8
     months from the beginning of the enumeration and reported by the
 9
     Director of the Census to the Secretary of Commerce and by him to the
10
11   President of the United States.” Fifteenth Census and Apportionment
12   Act of June 18, 1929, 71st Cong., Sess. I, Ch. 28, Sec. 2. [Att. 16]
13         71. “[T]he President shall transmit to the Congress a statement
14
     showing the whole number of persons in each State … as ascertained
15
     under the fifteenth and each subsequent decennial census of the
16
     population, and the number of Representatives to which each State
17
18   would be entitled under an apportionment of the then existing number
19   of Representatives [= 435][.]” [Id., Sec. 22(a)]
20         72. Congress in 1929 created the Court of Appeals for the Tenth
21
     Circuit by subdividing the then-existing Court of Appeals for the Eighth
22
     Circuit, but did not increase the size of the Supreme Court.
23
24
           1930
25         73. The fifteenth census counted 123,202,624 resident persons in
26   the United States, as of April 1, 1930.
27
28
     COMPLAINT - 19
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.20 Page 20 of 60



 1
                                      1930
 2                                                                  Average
 3                                        Number       Change       Population
                                          of Seats     in Seats     Per
 4      STATE            Population                                 District
 5      New York         12,588,066       45           2            279,733
 6       Pennsylvania    9,631,350        34           -2           283,274
 7       Illinois        7,630,654        27           0            282,607
 8       Ohio            6,646,697        24           2            276,943
 9       Texas           5,824,715        21           3            277,362
10       California      5,677,251        20           9            283,412
11       Michigan        4,842,325        17           4            284,827
12       Massachusetts 4,249,614          15           -1           283,307
13       New Jersey    4,041,334          14           2            288,666
14       Missouri        3,629,367        13           -3           279,162
15       Indiana         3,238,503        12           -1           269,873
16       North Carolina 3,170,276         11           1            287,934
17      Wisconsin        2,939,006        10           -1           293,172
18      Georgia          2,908,506        10           -2           290,845
19       Alabama         2,646,248        9            -1           294,027
20       Tennessee       2,616,556        9            -1           290,722
         Kentucky        2,614,589        9            -2           290,508
21
         Minnesota       2,563,953        9            -1           283,509
22
         Iowa            2,470,939        9            -2           274,491
23
         Virginia        2,421,851        9            -1           269,092
24
         Oklahoma        2,396,040        9            1            264,691
25
         Louisiana       2,101,593        8            0            262,699
26
         Mississippi     2,009,821        7            -1           286,879
27
28
     COMPLAINT - 20
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.21 Page 21 of 60



 1
         Kansas          1,880,999        7            -1           268,500
 2
         Arkansas        1,854,482        7            0            264,921
 3       South Carolina 1,738,765         6            -1           289,793
 4
         West Virginia   1,729,205        6            0            288,200
 5       Maryland        1,631,526        6            0            271,920
 6       Connecticut     1,606,903        6            1            267,816
 7
         Washington      1,563,396        6            1            258,737
 8       Florida         1,468,211        5            1            293,638
 9       Nebraska        1,377,963        5            -1           275,025
10       Colorado        1,035,791        4            0            258,712
11       Oregon          953,786          3            0            316,793
12       Maine           797,423          3            -1           265,806
13       South Dakota    692,849          2            -1           336,503
14       Rhode Island    687,497          2            -1           343,749
15       North Dakota    680,845          2            -1           336,670
16       Montana         537,606          2            0            262,365
17      Utah             507,847          2            0            252,871
18      New
        Hampshire        465,293          2            0            232,646
19
        Idaho            445,032          2            0            220,768
20
         Arizona         435,573          1            1            389,375
21                                                                  395,982
         New Mexico
22                       423,317          1            1            [Largest]
23       Vermont         359,611          1            -1           359,611
24       Delaware        238,380          1            0            238,380
25       Wyoming         225,565          1            0            223,630
                                                                    86,390
26       Nevada
                         91,058           1            0            [Smallest]
27       Alaska                           X            X            X
28
     COMPLAINT - 21
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.22 Page 22 of 60



 1
         Hawaii                           X            X            X
 2
        **************    *********       ***          **           *******
 3
         United States    123,202,624 435              27           280,675
 4
 5         1940
 6         74. The sixteenth census counted 132,164,569 resident persons
 7   in the United States, as of April 1, 1940.
 8
                                       1940
 9                                                                   Average
10                                        Number       Change        Population
                                          of Seats     in Seats      Per
11      STATE             Population                                 District
12      New York          13,479,142      45           0             299,536
13      Pennsylvania      9,900,180       33           -1            300,005
14
        Illinois          7,897,241       26           -1            303,740
15
        Ohio              6,907,612       23           -1            300,331
16
        California        6,907,387       23           3             300,321
17
18      Texas             6,414,824       21           0             305,468
19      Michigan          5,256,106       17           0             309,183
20      Massachusetts     4,316,721       14           -1            308,337
21      New Jersey        4,160,165       14           0             297,155
22      Missouri          3,784,664       13           0             291,128
23
        North Carolina 3,571,623          12           1             297,635
24
        Indiana           3,427,796       11           -1            311,618
25
26      Wisconsin         3,137,587       10           0             313,759

27      Georgia           3,123,723       10           0             312,372
28
     COMPLAINT - 22
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.23 Page 23 of 60



 1
        Tennessee        2,915,841        10           1             291,584
 2
        Kentucky         2,845,627        9            0             316,181
 3
        Alabama          2,832,961        9            0             314,773
 4
 5      Minnesota        2,792,300        9            0             310,256
 6      Virginia         2,677,773        9            0             297,530
 7      Iowa             2,538,268        8            -1            317,284
 8      Louisiana        2,363,880        8            0             295,485
 9      Oklahoma         2,336,434        8            -1            292,054
10
        Mississippi      2,183,796        7            0             311,971
11
        Arkansas         1,949,387        7            0             278,484
12
13      West Virginia    1,901,974        6            0             316,996
14      South Carolina 1,899,804          6            0             316,634
15      Florida          1,897,414        6            1             316,236
16      Maryland         1,821,244        6            0             303,541
17      Kansas           1,801,028        6            -1            300,171
18
        Washington       1,736,191        6            0             289,365
19
        Connecticut      1,709,242        6            0             284,874
20
        Nebraska         1,315,834        4            -1            328,959
21
        Colorado         1,123,296        4            0             280,824
22
23      Oregon           1,089,684        4            1             272,421
24      Maine            847,226          3            0             282,409
25      Rhode Island     713,346          2            0             356,673
26      South Dakota     642,961          2            0             321,481
27
28
     COMPLAINT - 23
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22     PageID.24 Page 24 of 60



 1
        North Dakota       641,935        2             0             320,968
 2
        Montana            559,456        2             0             279,728
 3
        Utah               550,310        2             0             275,155
 4
 5      New Mexico         531,818        2             1             265,909
 6      Idaho              524,873        2             0             262,437
 7      Arizona            499,261        2             1             249,631
 8      New
        Hampshire          491,524        2             0             245,762
 9
                                                                      359,231
        Vermont
10                         359,231        1             0             [Largest]
11      Delaware           266,505        1             0             266,505
12
        Wyoming            250,742        1             0             250,742
13                                                                    110,247
        Nevada
14                         110,247        1             0             [Smallest]
        Alaska                            X             X             X
15
16      Hawaii                            X             X             X
17      **************     *********      ***           **            *******
18      United States      132,164,569 435              9             301,164
19
           75. Congress merely copied the 1929 Act in 1940:
20        [The 1929 Act] to provide for apportionment of
21        Representatives in Congress … is hereby amended in the first
          sentence of section 22 (a) by striking out the words “second
22        regular session of the Seventy-First Congress” and
23        substituting the following words: “first regular session of the
          Seventy-seventh Congress”, and by striking out “fifteenth”
24
          and inserting “sixteenth”.
25
     54 Stat. 162, Sec. 1 (April 25, 1940). [Att. 17]
26
27
28
     COMPLAINT - 24
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.25 Page 25 of 60



 1
           1941
 2
 3         76. Congress made apportionment of 435 members permanent
 4   and automatic:
 5
          Each State shall be entitled, in the Seventy-eighth and in each
 6
          Congress thereafter until the taking effect of a
 7        reapportionment under a subsequent statute[,] … to the
 8        number of Representatives shown in the statement
          transmitted to the Congress on January 8, 1941, based upon
 9        the method known as the method of equal proportions, no
10        State to receive less than one Member.
11   Permanent Apportionment Act of November 15, 1941, 77th Cong., Sess.
12   I, Ch. 470, Sec. 2(a). [Att. 18]
13
           77. 2 U.S.C. § 2a(a) now provides:
14
15        On the first day, or within one week thereafter, of the first
          regular session of the Eighty-second Congress and of each
16
          fifth Congress thereafter, the President shall transmit to the
17        Congress a statement showing the whole number of persons
18        in each State … as ascertained under the seventeenth and
          each subsequent decennial census of the population, and the
19        number of Representatives to which each State would be
20        entitled under an apportionment of the then existing number
          of Representatives [435] by the method known as the method
21        of equal proportions, no State to receive less than one
22        Member.
23   [Att. 18]
24         78. 2 U.S.C. § 2a(b) now provides:
25
          Each State shall be entitled, in the Eighty-third Congress and
26        in each Congress thereafter until the taking effect of a
27        reapportionment under this section or subsequent statute, to
28
     COMPLAINT - 25
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.26 Page 26 of 60



 1        the number of Representatives shown in the statement
 2        required by subsection (a) of this section, no State to receive
          less than one Member.
 3
     [Att. 18]
 4
           1950
 5
           79. The seventeenth census counted 151,325,798 resident
 6
 7   persons in the United States, as of April 1, 1950.

 8                                     1950
                                                   Change Average
 9                                        Number
                                                   in     Population
                                          of Seats
10       STATE            Population               Seats  Per District
         New York         14,830,192      43          -2         344,888
11
          California      10,586,223      30          7          352,874
12
          Pennsylvania    10,498,012      30          -3         349,934
13
          Illinois        8,712,176       25          -1         348,487
14        Ohio            7,946,627       23          0          345,506
15        Texas           7,711,194       22          1          350,509
16        Michigan        6,371,766       18          1          353,987
17        New Jersey      4,835,329       14          0          345,381
18        Massachusett
         s                4,690,514       14          0          335,037
19        North
20       Carolina         4,061,929       12          0          338,494
          Missouri        3,954,653       11          -2         359,514
21
          Indiana         3,934,224       11          0          357,657
22
         Georgia          3,444,578       10          0          344,458
23
          Wisconsin       3,434,575       10          0          343,458
24        Virginia        3,318,680       10          1          331,868
25        Tennessee       3,291,718       9           -1         365,746
26        Alabama         3,061,743       9           0          340,194
27        Minnesota       2,982,483       9           0          331,387
28
     COMPLAINT - 26
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.27 Page 27 of 60



 1        Kentucky       2,944,806        8           -1         368,101
 2        Florida        2,771,305        8           2          346,413
 3        Louisiana      2,683,516        8           0          335,440
 4        Iowa           2,621,073        8           0          327,634
 5        Washington     2,378,963        7           1          339,852
 6        Maryland       2,343,001        7           1          334,714
          Oklahoma       2,233,351        6           -2         372,225
 7
         Mississippi     2,178,914        6           -1         363,152
 8
         South
 9       Carolina        2,117,027        6           0          352,838
10       Connecticut     2,007,280        6           0          334,547
11        West Virginia 2,005,552         6           0          334,259
          Arkansas      1,909,511         6           -1         318,252
12
          Kansas        1,905,299         6           0          317,550
13
          Oregon         1,521,341        4           0          380,335
14
          Nebraska       1,325,510        4           0          331,378
15        Colorado       1,325,089        4           0          331,272
16        Maine          913,774          3           0          304,591
17                                                               395,948
          Rhode Island
                         791,896          2           0          [Largest]
18
          Arizona        749,587          2           0          374,794
19
          Utah           688,862          2           0          344,431
20        New Mexico     681,187          2           0          340,594
21        South Dakota 652,740            2           0          326,370
22        North Dakota 619,636            2           0          309,818
23        Montana        591,024          2           0          295,512
24       Idaho           588,637          2           0          294,319
         New
25
         Hampshire       533,242          2           0          266,621
26       Vermont         377,747          1           0          377,747
27        Delaware       318,085          1           0          318,085
28
     COMPLAINT - 27
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.28 Page 28 of 60



 1
          Wyoming         290,529         1           0          290,529
 2                                                               160,083
          Nevada
 3                        160,083         1           0          [Smallest]
          Alaska                          X           X          X
 4
          Hawaii                          X           X          X
 5
         *************
 6       *                *********       ***         **         *******
 7        United States 151,325,798 435               14         344,587
 8         1954
 9         80. “The Fifth Amendment … does not contain an equal
10
     protection clause as does the Fourteenth Amendment which applies
11
     only to the states. But the concepts of equal protection and due process,
12
     both stemming from our American ideal of fairness, are not mutually
13
14   exclusive.” Bolling v. Sharpe, 347 U.S. 497, 499-500 (1954).

15         81. Bolling concerned segregation in schools in the District of
16   Columbia, to which the Fourteenth Amendment does not apply. Id.
17
           82. Holding that the Fifth Amendment’s due process clause
18
     forbid racial segregation in D.C. schools, the Bolling court explained
19
     that “it would be unthinkable that the same Constitution would impose
20
21   a lesser duty on the Federal Government.” Id.

22         83. “The ‘equal protection of the laws' is a more explicit
23   safeguard of prohibited unfairness than ‘due process of law,’ and,
24
     therefore, we do not imply that the two are always interchangeable
25
     phrases.” Id.
26
27
28
     COMPLAINT - 28
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.29 Page 29 of 60



 1
           84. “But, … discrimination may be so unjustifiable as to be
 2
     violative of due process.” Id. at 500.
 3
 4         1958 / 1959
 5         85. Representation of Alaska and Hawaii in the House
 6   temporarily added one member per state for a total House of 437,
 7
     reverting after the next election to a total House of 435. See section 9
 8
     of Public Law 85-508, 72 Stat. 339 (July 7, 1958); and section 8 of Public
 9
     Law 86-3, 73 Stat. 4 (Mar. 18, 1959).
10
11         1960
12         86. The eighteenth census counted 179,323,175 resident persons
13   in the fifty (50) United States, as of April 1, 1960.
14
                                        1960
15                                                            Average
                                                       Change
16                                            Number          Population
                                                       in
                                              of Seats        Per
17                                                     Seats
          STATE             Population                        District
18
           New York         16,782,304        41       -2          409,324
19
           California       15,717,204        38       8           413,611
20
21         Pennsylvania     11,319,366        27       -3          419,236
22         Illinois         10,081,158        24       -1          420,048
23
           Ohio             9,706,397         24       1           404,433
24
           Texas            9,579,677         23       1           416,508
25
26         Michigan         7,823,194         19       1           411,747
27
28
     COMPLAINT - 29
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.30 Page 30 of 60



 1
           New Jersey     6,066,782       15           1           404,452
 2
 3         Massachusetts 5,148,578        12           -2          429,048
 4         Florida        4,951,560       12           4           412,630
 5
           Indiana        4,662,498       11           0           423,863
 6
          North
 7        Carolina        4,556,155       11           -1          414,196
 8         Missouri       4,319,813       10           -1          431,981
 9         Virginia       3,966,949       10           0           396,695
10
11         Wisconsin      3,951,777       10           0           395,178

12        Georgia         3,943,116       10           0           394,312
13         Tennessee      3,567,089       9            0           396,343
14
           Minnesota      3,413,864       8            -1          426,733
15
           Alabama        3,266,740       8            -1          408,343
16
17         Louisiana      3,257,022       8            0           407,128
18         Maryland       3,100,689       8            1           387,586
19
           Kentucky       3,038,156       7            -1          434,022
20
21         Washington     2,853,214       7            0           407,602
22         Iowa           2,757,537       7            -1          393,934
23
           Connecticut    2,535,234       6            0           422,539
24
          South
25        Carolina        2,382,594       6            0           397,099
26         Oklahoma       2,328,284       6            0           388,047
27
28
     COMPLAINT - 30
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.31 Page 31 of 60



 1
           Kansas          2,178,611      5            -1          435,722
 2
 3         Mississippi     2,178,141      5            -1          435,628
 4
           West Virginia   1,860,421      5            -1          372,084
 5
           Arkansas        1,786,272      4            -2          446,568
 6
           Oregon          1,768,687      4            0           442,172
 7
 8         Colorado        1,753,947      4            0           438,487
 9         Nebraska        1,411,330      3            -1          470,443
10
           Arizona         1,302,161      3            1           434,054
11
                                                                   484,633
12         Maine
                           969,265        2            -1          [Largest]
13         New Mexico      951,023        2            0           475,512
14
           Utah            890,627        2            0           445,314
15
           Rhode Island    859,488        2            0           429,744
16
17         South Dakota    680,514        2            0           340,257
18         Montana         674,767        2            0           337,384
19
           Idaho           667,191        2            0           333,596
20
21         Hawaii          632,772        2            2           316,386
22         North Dakota    632,446        2            0           316,223
23        New
24        Hampshire        606,921        2            0           303,461

25         Delaware        446,292        1            0           446,292
26         Vermont         389,881        1            0           389,881
27
28
     COMPLAINT - 31
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22    PageID.32 Page 32 of 60



 1
 2         Wyoming          330,066        1            0           330,066

 3         Nevada           285,278        1            0           285,278
 4                                                                  226,167
           Alaska
                            226,167        1            1           [Smallest]
 5
 6        ************** *********         ***          **          *******

 7         United States    179,323,175 435             21          410,481
 8
             1962
 9
             87. In Baker v. Carr, the Supreme Court recognized standing for
10
11   an individual to challenge the constitutionality of legislative district re-

12   apportionment:
13
          Article III, s 2, of the Federal Constitution provides that ‘The
14        judicial Power shall extend to all Cases, in Law and Equity,
15        arising under this Constitution, the Laws of the United
          States, and Treaties made, or which shall be made, under
16        their Authority * * *.’ It is clear that the cause of action is one
17        which ‘arises under’ the Federal Constitution. The complaint
          alleges that the [Tennessee] statute effects an apportionment
18
          that deprives the appellants of the equal protection of the laws
19        in violation of the Fourteenth Amendment.
20   Baker v. Carr, 369 U.S. 186, 199 (1962) (applying Fourteenth
21   Amendment to Tennessee apportionment statute).
22
             1964
23
24           88. The Supreme Court heard argument in Wesberry v. Sanders,
25   infra, on November 18 and November 19 of 1963.
26           89. The Twenty-Fourth Amendment took effect on January 23,
27
     1964.
28
     COMPLAINT - 32
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.33 Page 33 of 60



 1        The right of citizens of the United States to vote in any
 2        primary or other election for President or Vice President, for
          electors for President or Vice President, or for Senator or
 3        Representative in Congress, shall not be denied or abridged
 4        by the United States or any State by reason of failure to pay
          any poll tax or other tax.
 5
     U.S.CONST., Twenty-Fourth Amend.
 6
 7         90. Rejecting the contention that apportionment under Article I
 8   is a non-justiciable political question, the Wesberry court explained
 9   that “The right to vote is too important in our free society to be stripped
10
     of judicial protection by such an interpretation of Article I.” Wesberry
11
     v. Sanders, 376 U.S. 1, 7, 84 S.Ct. 526, 11 L.Ed.2d 481 (Argued Nov. 18
12
13   and 19, 1963; decided Feb. 17, 1964).

14        We hold that, construed in its historical context, the command
15        of Art. I, s 2, that Representatives be chosen ‘by the People of
          the several States' means that as nearly as is practicable one
16
          man's vote in a congressional election is to be worth as much
17        as another's. This rule is followed automatically, of course,
18        when Representatives are chosen as a group on a statewide
          basis, as was a widespread practice in the first 50 years of our
19        Nation's history. … The history of the Constitution,
20        particularly that part of it relating to the adoption of Art. I, s
          2, reveals that those who framed the Constitution meant that,
21        no matter what the mechanics of an election, whether
22        statewide or by districts, it was population which was to be
          the basis of the House of Representatives. [pp. 7-9]
23
          …
24        The debates at the Convention make at least one fact
25        abundantly clear: that when the delegates agreed that the
          House should represent ‘people’ they intended that in
26        allocating Congressmen the number assigned to each State
27        should be determined solely by the number of the State's
28
     COMPLAINT - 33
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.34 Page 34 of 60



 1        inhabitants. The Constitution embodied Edmund Randolph's
 2        proposal for a periodic census to ensure ‘fair representation of
          the people,' an idea endorsed by Mason as assuring that
 3        ‘numbers of inhabitants' should always be the measure of
 4        representation in the House of Representatives. The
          Convention also overwhelmingly agreed to a resolution
 5
          offered by Randolph to base future apportionment squarely on
 6        numbers and to delete any reference to wealth. And the
 7        delegates defeated a motion made by Elbridge Gerry to limit
          the number of Representatives from newer Western States so
 8        that it would never exceed the number from the original
 9        States.
          …
10        The House of Representatives, the Convention agreed, was to
11        represent the people as individuals, and on a basis of complete
          equality for each voter. [pp. 13-14]
12
          …
13        It is in the light of such history that we must construe Art. I,
14        s 2, of the Constitution, which, carrying out the ideas of
          Madison and those of like views, provides that
15        Representatives shall be chosen ‘by the People of the several
16        States' and shall be ‘apportioned among the several States * *
          * according to their respective Numbers.’ It is not surprising
17
          that our Court has held that this Article gives persons
18        qualified to vote a constitutional right to vote and to have
19        their votes counted. United States v. Mosley, 238 U.S. 383, 35
          S.Ct. 904, 59 L.Ed. 1355; Ex parte Yarbrough, 110 U.S. 651, 4
20        S.Ct. 152, 28 L.Ed. 274. Not only can this right to vote not be
21        denied outright, it cannot, consistently with Article I, be
          destroyed by alteration of ballots, see United States v. Classic,
22        313 U.S. 299, 61 S.Ct. 1031, 85 L.Ed. 1368, or diluted by
23        stuffing of the ballot box, see United States v. Saylor, 322 U.S.
          385, 64 S.Ct. 1101, 88 L.Ed. 1341. No right is more precious
24
          in a free country than that of having a voice in the election of
25        those who make the laws under which, as good citizens, we
26        must live. Other rights, even the most basic, are illusory if the
          right to vote is undermined. Our Constitution leaves no room
27        for classification of people in a way that unnecessarily
28
     COMPLAINT - 34
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.35 Page 35 of 60



 1        abridges this right. In urging the people to adopt the
 2        Constitution, Madison said in No. 57 of The Federalist:
 3               ‘Who are to be the electors of the Federal
 4               Representatives? Not the rich more than the poor;
                 not the learned more than the ignorant; not the
 5
                 haughty heirs of distinguished names, more than
 6               the humble sons of obscure and unpropitious
 7               fortune. The electors are to be the great body of the
                 people of the United States. * * *'
 8
 9        Readers surely could have fairly taken this to mean, ‘one
          person, one vote.’ Cf. Gray v. Sanders, 372 U.S. 368, 381, 83
10        S.Ct. 801, 809, 9 L.Ed.2d 821.
11
          While it may not be possible to draw congressional districts
12
          with mathematical precision, that is no excuse for ignoring
13        our Constitution's plain objective of making equal
14        representation for equal numbers of people the fundamental
          goal for the House of Representatives. That is the high
15        standard of justice and common sense which the Founders set
16        for us. [pp. 17-18]
17   Wesberry v. Sanders, 376 U.S. at 7-9; 13-14; 17-18 (citations and marks
18   in original).
19
20         1967
21         91. In 1967, Congress eliminated at-large districts in every state

22   with more than one Representative.
23        In each State entitled in the Ninety-first Congress or in any
24        subsequent Congress thereafter to more than one
          Representative under an apportionment made pursuant to
25        the provisions of section 2a(a) of this title, there shall be
26        established by law a number of districts equal to the number
          of Representatives to which such State is so entitled, and
27        Representatives shall be elected only from districts so
28
     COMPLAINT - 35
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22       PageID.36 Page 36 of 60



 1        established, no     district    to    elect      more       than    one
 2        Representative[.]
 3   2 U.S.C. § 2c; Public Law 90–196; 81 Stat. 581 (Dec. 14, 1967).
 4         1970
 5         92. The nineteenth census counted 203,302,031 resident persons
 6
     in the United States, as of April 1, 1970.
 7
                                         1970
 8                                                         Average
                                                    Change
 9                                         Number          Population
                                                    in
                                           of Seats        Per
10                                                  Seats
        STATE              Population                      District
11      California         19,953,134      43              5           467,415
12       New York          18,236,967      39              -2          470,207
13       Pennsylvania      11,793,909      25              -2          475,373
14       Texas             11,196,730      24              1           470,783
15       Illinois          11,113,976      24              0           466,013
16       Ohio              10,652,017      23              -1          466,530
         Michigan          8,875,083       19              0           470,379
17
         New Jersey        7,168,164       15              0           480,536
18
         Florida           6,789,443       15              3           457,047
19
         Massachusetts     5,689,170       12              0           477,223
20
         Indiana           5,193,669       11              0           475,287
21
         North Carolina    5,082,059       11              0           465,930
22
         Missouri          4,676,501       10              0           471,803
23       Virginia          4,648,494       10              0           469,074
24      Georgia            4,589,575       10              0           462,731
25       Wisconsin         4,417,731       9               -1          494,113
26       Tennessee         3,923,687       8               -1          495,133
27       Maryland          3,922,399       8               0           494,212
28
     COMPLAINT - 36
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22       PageID.37 Page 37 of 60



 1
         Minnesota        3,804,971        8               0           479,147
 2       Louisiana        3,641,306        8               0           459,001
 3       Alabama          3,444,165        7               -1          496,555
 4       Washington       3,409,169        7               0           491,927
 5       Kentucky         3,218,706        7               0           463,783
 6       Connecticut      3,031,709        6               0           508,449
 7       Iowa             2,824,376        6               -1          474,487
 8       South Carolina   2,590,516        6               0           436,220
 9       Oklahoma         2,559,229        6               0           430,914
10       Kansas           2,246,578        5               0           453,169
         Mississippi      2,216,912        5               0           446,770
11
         Colorado         2,207,259        5               1           445,354
12
         Oregon           2,091,385        4               0           527,703
13
         Arkansas         1,923,295        4               0           485,576
14
         Arizona          1,770,900        4               1           446,905
15
         West Virginia    1,744,237        4               -1          440,833
16
         Nebraska         1,483,493        3               0           498,940
17       Utah             1,059,273        2               0           533,905
18       New Mexico       1,016,000        2               0           513,332
19       Maine            992,048          2               0           503,160
20       Rhode Island     946,725          2               0           478,899
21       Hawaii           768,561          2               0           392,451
22       New Hampshire 737,681             2               0           373,142
23       Idaho         712,567             2               0           359,961
24       Montana          694,409          2               0           350,787
25       South Dakota     665,507          2               0           336,624
                                                                       624,181
26       North Dakota
                          617,761          1               -1          [Largest]
27       Delaware         548,104          1               0           551,928
28
     COMPLAINT - 37
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22       PageID.38 Page 38 of 60



 1
         Nevada            488,738         1               0           492,396
 2       Vermont           444,330         1               0           448,327
 3       Wyoming           332,416         1               0           335,719
 4                                                                     304,067
         Alaska
 5                         300,382         1               0           [Smallest]
        **************     *********       ***             **          *******
 6
         United States     203,302,031 435                 11          469,088
 7
           1971
 8
 9         93. “The right of citizens of the United States, who are eighteen
10   years of age or older, to vote shall not be denied or abridged by the
11   United States or by any State on account of age.” U.S.CONST., Twenty-
12
     Sixth Amend.
13
           1976
14
           94. A plaintiff sued a New York state official, arguing that Art.
15
16   I, § 2, cl. 3 required one Representative for every 30,000 people, which
17   the district court rejected. Whelan v. Cuomo, 415 F.Supp. 251, 258
18   (E.D.N.Y. 1976).
19
           1980
20
           95. The twentieth census counted 226,542,199 resident persons
21
     in the United States, as of April 1, 1980.
22
23                                      1980
                                                   Change Average
24                                        Number
                                                   in     Population
                                          of Seats
25      STATE              Population              Seats  Per District
26      California         23,667,902     45           2              525,968
27       New York          17,558,072     34           -5             516,391
28
     COMPLAINT - 38
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.39 Page 39 of 60



 1
         Texas            14,229,191      27           3           526,977
 2
         Pennsylvania     11,863,895      23           -2          515,945
 3
         Illinois         11,426,518      22           -2          519,021
 4       Ohio             10,797,630      21           -2          514,163
 5       Florida          9,746,324       19           4           512,631
 6       Michigan         9,262,078       18           -1          514,352
 7       New Jersey       7,364,823       14           -1          526,011
 8       North Carolina   5,881,766       11           0           534,039
 9       Massachusetts    5,737,037       11           -1          521,549
10       Indiana          5,490,224       10           -1          549,018
11      Georgia           5,463,105       10           0           546,427
12       Virginia         5,346,818       10           0           534,628
13       Missouri         4,916,686       9            -1          546,383
14
         Wisconsin        4,705,767       9            0           522,815
15       Tennessee        4,591,120       9            1           510,083
16       Maryland         4,216,975       8            0           527,056
17       Louisiana        4,205,900       8            0           525,497
18
         Washington       4,132,156       8            1           516,270
19       Minnesota        4,075,970       8            0           509,644
20       Alabama          3,893,888       7            0           555,723
21       Kentucky         3,660,777       7            0           523,062
22       South Carolina   3,121,820       6            0           519,868
23       Connecticut      3,107,576       6            0           517,929
24       Oklahoma         3,025,290       6            0           504,211
25       Iowa             2,913,808       6            0           485,565
26       Colorado         2,889,964       6            1           481,472
27       Arizona          2,718,215       5            1           543,573
28
     COMPLAINT - 39
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.40 Page 40 of 60



 1
         Oregon           2,633,105       5            1           526,533
 2
         Mississippi      2,520,638       5            0           504,128
 3
         Kansas           2,363,679       5            0           472,642
 4
         Arkansas         2,286,435       4            0           571,378
 5
         West Virginia    1,949,644       4            0           487,411
 6
         Nebraska         1,569,825       3            0           523,335
 7
         Utah             1,461,037       3            1           487,012
 8
         New Mexico       1,302,894       3            1           433,323
 9
         Maine            1,124,660       2            0           562,330
10
         Hawaii           964,691         2            0           482,500
11       Rhode Island     947,154         2            0           473,577
12      Idaho             943,935         2            0           471,968
13      New
14      Hampshire         920,610         2            0           460,305
        Nevada            800,493         2            1           399,592
15
                                                                   393,345
16       Montana
                          786,690         2            0           [Smallest]
17                                                                 690,178
         South Dakota
                          690,768         1            -1          [Largest]
18
         North Dakota     652,717         1            0           652,695
19
         Delaware         594,338         1            0           595,225
20
         Vermont          511,456         1            0           511,456
21
         Wyoming          469,557         1            0           470,816
22
         Alaska           401,851         1            0           400,481
23
        **************    *********       ***          **          *******
24
         United States    226,542,199 435              17          519,235
25
26
27
28
     COMPLAINT - 40
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.41 Page 41 of 60



 1
           1981
 2
           96. Congress created the Court of Appeals for the Eleventh
 3
 4   Circuit by subdividing the then-existing Fifth Circuit but did not
 5   increase the size of the Supreme Court.
 6         97. “The [Due Process Clause of the Fifth Amendment] requires
 7
     that Congress treat similarly situated persons similarly, not that it
 8
     engage in gestures of superficial equality.” Rostker v. Goldberg, 453
 9
     U.S. 57, 79 (1981) (regarding Military Selective Service Act).
10
11         1982
12         98. Congress created the Court of Appeals for the Federal Circuit
13   by merging the Court of Customs and Patent Appeals with the
14
     appellate division of the Court of Claims, but did not increase the size
15
     of the Supreme Court, which remains at 9 members.
16
17
           1990
18         99. The twenty-first census counted 248,709,873 resident
19   persons in the United States, as of April 1, 1990.
20                                    1990
21                                                        Average
                                                   Change
                                          Number          Population
22                                                 in
                                          of Seats        Per
                                                   Seats
23        STATE            Population                     District
24        California       29,760,021     52           7           573,832
           New York        17,990,455     31           -3          582,081
25
           Texas           16,986,510     30           3           568,660
26
           Florida         12,937,926     23           4           565,364
27
28
     COMPLAINT - 41
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.42 Page 42 of 60



 1
           Pennsylvania   11,881,643      21           -2          567,843
 2         Illinois       11,430,602      20           -2          573,334
 3         Ohio           10,847,115      19           -2          573,017
 4         Michigan       9,295,297       16           -2          583,049
 5        New Jersey      7,730,188       13           -1          596,049
 6        North
          Carolina        6,628,637       12           1           554,803
 7
          Georgia         6,478,216       11           1           591,674
 8
           Virginia       6,187,358       11           1           565,143
 9
           Massachusetts 6,016,425        10           -1          602,905
10
           Indiana       5,544,159        10           0           556,423
11
           Missouri       5,117,073       9            0           570,867
12
           Wisconsin      4,891,769       9            0           545,194
13
           Tennessee      4,877,185       9            0           544,071
14
           Washington     4,866,692       9            1           543,105
15         Maryland       4,781,468       8            0           599,828
16         Minnesota      4,375,099       8            0           548,379
17         Louisiana      4,219,973       7            -1          605,459
18         Alabama        4,040,587       7            0           580,373
19         Kentucky       3,685,296       6            -1          616,495
20        Arizona         3,665,228       6            1           612,998
21        South
          Carolina        3,486,703       6            0           584,285
22
          Colorado        3,294,394       6            0           551,319
23
           Connecticut    3,287,116       6            0           549,278
24
           Oklahoma       3,145,585       6            0           526,267
25
           Oregon         2,842,321       5            0           570,747
26         Iowa           2,776,755       5            -1          557,485
27         Mississippi    2,573,216       5            0           517,289
28
     COMPLAINT - 42
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.43 Page 43 of 60



 1
           Kansas          2,477,574      4            -1          621,400
 2         Arkansas        2,350,725      4            0           590,560
 3
           West Virginia   1,793,477      3            -1          600,542
 4         Utah            1,722,850      3            0           575,928
 5         Nebraska        1,578,385      3            0           528,206
 6         New Mexico      1,515,069      3            0           507,260
 7         Maine           1,227,928      2            0           616,612
 8        Nevada           1,201,833      2            0           603,076
 9        New
          Hampshire        1,109,252      2            0           556,958
10
          Hawaii           1,108,229      2            0           557,637
11
           Idaho           1,006,749      2            0           505,993
12
           Rhode Island    1,003,464      2            0           502,992
13                                                                 803,655
           Montana
14                         799,065        1            -1          [Largest]
15         South Dakota    696,004        1            0           699,999
16         Delaware        666,168        1            0           668,696
           North Dakota    638,800        1            0           641,364
17
           Vermont         562,758        1            0           564,964
18
           Alaska          550,043        1            0           551,947
19
                                                                   455,975
20         Wyoming         453,588        1            0           [Smallest]
21        ************** *********        ***          **          *******
22         United States   248,709,873 435             19          572,466
23         1992
24
           100. The Supreme Court held that the “method of equal
25
     proportions” was satisfied in light of “the need to allocate a fixed
26
     number of indivisible Representatives among 50 States of varying
27
28
     COMPLAINT - 43
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22   PageID.44 Page 44 of 60



 1
     populations makes it virtually impossible to have the same district size
 2
     in any pair of States, let alone 50.” U.S. Dept. of Commerce v. Montana,
 3
 4   503 U.S. 442, 463 (1992).
 5         101. Mathematically, the Montana court was incorrect.
 6         102. Equal apportionment is only “virtually impossible” if the
 7
     number of representatives is permanently set to 435, with no state
 8
     having fewer than one representative.
 9
           103. The Montana court did not analyze whether capping the
10
11   number of representatives at 435 itself could violate citizens’ rights to
12   equal representation in the House [Art. I, § 2] and in the electoral
13   college [Art. II, § 1], or the ‘one person, one vote’ principle, particularly
14
     in light of a growing population. See 503 U.S. at 451 and n. 24.
15
           1995
16
           104. As the Answer was always “435”, Congress determined the 2
17
18   U.S.C. § 2a(a) decennial report regarding the results of the Census and
19   apportionment of seats in the House of Representatives was ‘wasteful,’
20   and terminated the provision requiring submittal to Congress, effective
21
     May 15, 2000. 31 U.S.C. § 1113. See Public Law 104–66, § 3003
22
     (December 21, 1995); 1090 Stat. 707, Sec. 3003.
23
24
           1996
25         105. Section 201 of Public Law 104-186 struck the phrase “and in
26   case of vacancies in the offices of both the Clerk and the Sergeant at
27   Arms, or the absence or inability of both to act, such duty shall devolve
28
     COMPLAINT - 44
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22       PageID.45 Page 45 of 60



 1
     upon the Doorkeeper of the House of Representatives” from 2 U.S.C. §
 2
     2a(b). Public Law 104-186, Title II, § 201 (August 20, 1996)
 3
 4         2000
 5         106. The twenty-second census counted 281,421,906 resident
 6   persons in the United States, as of April 1, 2000.
 7                                     2000
 8                                                           Average
                                                      Change
                                             Number          Population
 9                                                    in
                                             of Seats        Per
10                                                    Seats
         STATE                Population                     District
11       California           33,871,648     53             1           640,204
12        Texas               20,851,820     32             2           653,250
13        New York            18,976,457     29             -2          655,344
14        Florida             15,982,378     25             2           641,156
15        Illinois            12,419,293     19             -1          654,686
16        Pennsylvania        12,281,054     19             -2          647,404
17        Ohio                11,353,140     18             -1          631,919
18        Michigan            9,938,444      15             -1          663,722
19        New Jersey          8,414,350      13             0           648,027
20       Georgia              8,186,453      13             2           631,306
21        North Carolina      8,049,313      13             1           620,590
22        Virginia            7,078,515      11             0           645,518
23        Massachusetts       6,349,097      10             0           635,557
24        Indiana             6,080,485      9              -1          676,754
25        Washington          5,894,121      9              0           656,520
26        Tennessee           5,689,283      9              0           633,337
27        Missouri            5,595,211      9              0           622,918
28
     COMPLAINT - 45
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22       PageID.46 Page 46 of 60



 1
          Wisconsin           5,363,675      8              -1          671,401
 2
          Maryland            5,296,486      8              0           663,486
 3
          Arizona             5,130,632      8              2           642,585
 4        Minnesota           4,919,479      8              0           615,709
 5        Louisiana           4,468,976      7              0           640,039
 6        Alabama             4,447,100      7              0           637,304
 7        Colorado            4,301,261      7              1           615,983
 8        Kentucky            4,041,769      6              0           674,905
 9        South Carolina      4,012,012      6              0           670,844
10        Oklahoma            3,450,654      5              -1          691,764
11        Oregon              3,421,399      5              0           685,709
12        Connecticut         3,405,565      5              -1          681,907
13        Iowa                2,926,324      5              0           586,385
14        Mississippi         2,844,658      4              -1          713,232
15        Kansas              2,688,418      4              0           673,456
16        Arkansas            2,673,400      4              0           669,933
17        Utah                2,233,169      3              0           745,571
18        Nevada              1,998,257      3              1           667,344
19        New Mexico          1,819,046      3              0           607,940
20        West Virginia       1,808,344      3              0           604,359
21        Nebraska            1,711,263      3              0           571,790
22        Idaho               1,293,953      2              0           648,637
23        Maine               1,274,923      2              0           638,866
24        New Hampshire       1,235,786      2              0           619,208
25        Hawaii              1,211,537      2              0           608,321
26        Rhode Island        1,048,319      2              0           524,831
27
28
     COMPLAINT - 46
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22       PageID.47 Page 47 of 60



 1       Montana              902,195        1              0           905,316
 2                                                                      [Largest]
 3        Delaware            783,600        1              0           785,068
 4        South Dakota        754,844        1              0           756,874
 5        North Dakota        642,200        1              0           643,756
 6        Alaska              626,932        1              0           628,933
          Vermont             608,827        1              0           609,890
 7
                                                                        495,304
 8        Wyoming             493,782        1              0           [Smallest]
 9       **************       *********      ***            **          *******
10        United States       281,421,906 435               12          646,952
11
           107. On December 12, 2000, the Supreme Court issued an
12
     injunction regarding the presidential election, predicated upon Fifth
13
     Amendment due process grounds. Bush v. Gore, 531 U.S. 98 (2000).
14
15         108. George W. Bush had 271 electors to Al Gore’s 267, though

16   Bush lost the national popular vote by 537,179.
17         2010
18
           109. The twenty-third census counted 308,745,538 resident
19
     persons in the United States, as of April 1, 2010.
20
                                        2010
21
                                                            Average
                                                     Change
22                                          Number          Population
                                                     in
23                                          of Seats        Per
                                                     Seats
          STATE               Population                    District
24
          California          37,253,956    53          0              704,566
25
          Texas               25,145,561    36          4              701,901
26
          New York            19,378,102    27          -2             719,298
27
28
     COMPLAINT - 47
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22    PageID.48 Page 48 of 60



 1
          Florida             18,801,310    27          2           700,029
 2
          Illinois            12,830,632    18          -1          714,688
 3
          Pennsylvania        12,702,379    18          -1          707,495
 4
          Ohio                11,536,504    16          -2          723,031
 5
          Michigan            9,883,640     14          -1          707,973
 6
          Georgia             9,687,653     14          1           694,826
 7
          North Carolina 9,535,483          13          0           735,829
 8
 9        New Jersey          8,791,894     12          -1          733,958
10        Virginia            8,001,024     11          0           730,703
11        Washington          6,724,540     10          1           675,337
12        Massachusetts       6,547,629     9           -1          728,849
13        Indiana             6,483,802     9           0           722,398
14        Arizona             6,392,017     9           1           712,522
15        Tennessee           6,346,105     9           0           708,381
16        Missouri            5,988,927     8           -1          751,435
17        Maryland            5,773,552     8           0           723,741
18
          Wisconsin           5,686,986     8           0           712,279
19
          Minnesota           5,303,925     8           0           664,360
20
          Colorado            5,029,196     7           0           720,704
21
          Alabama             4,779,736     7           0           686,140
22
          South Carolina 4,625,364          7           1           663,711
23
          Louisiana           4,533,372     6           -1          758,994
24
          Kentucky            4,339,367     6           0           725,101
25
          Oregon              3,831,074     5           0           769,721
26
          Oklahoma            3,751,351     5           0           752,976
27
28
     COMPLAINT - 48
     Case 2:22-cv-00172-MKD    ECF No. 1   filed 07/18/22    PageID.49 Page 49 of 60



 1
          Connecticut         3,574,097     5           0           716,326
 2
          Iowa                3,046,355     4           -1          763,447
 3
          Mississippi         2,967,297     4           0           744,560
 4
          Arkansas            2,915,918     4           0           731,557
 5
          Kansas              2,853,118     4           0           715,953
 6
          Utah                2,763,885     4           1           692,691
 7
          Nevada              2,700,551     4           1           677,358
 8
 9        New Mexico          2,059,179     3           0           689,091
10        West Virginia       1,852,994     3           0           619,938
11        Nebraska            1,826,341     3           0           610,608
12        Idaho               1,567,582     2           0           786,750
13        Hawaii              1,360,301     2           0           683,431
14        Maine               1,328,361     2           0           666,537
15        New
          Hampshire           1,316,470     2           0           660,723
16
                                                                    527,624
          Rhode Island
17                            1,052,567     2           0           [Smallest]
18                                                                  994,416
          Montana
                              989,415       1           0           [Largest]
19
          Delaware            897,934       1           0           900,877
20
          South Dakota        814,180       1           0           819,761
21
          Alaska              710,231       1           0           721,523
22
          North Dakota        672,591       1           0           675,905
23
          Vermont             625,741       1           0           630,337
24
25        Wyoming             563,626       1           0           568,300

26        **************      *********     ***         **          *******
27        United States       308,745,538 435           12          710,767
28
     COMPLAINT - 49
     Case 2:22-cv-00172-MKD     ECF No. 1   filed 07/18/22   PageID.50 Page 50 of 60



 1
           110. One district court held the 435-member cap to be valid,
 2
     without considering the Art. II issue. Clemons v. U.S. Dep't of
 3
 4   Commerce, 710 F. Supp.2d 570, 590 (N.D. Miss. 2010). However, the
 5   Supreme Court ordered that Clemons be remanded “with instructions
 6   to dismiss the complaint for lack of jurisdiction.” 562 U.S. 1105, 131
 7
     S.Ct. 821 (Mem.) (2010). But, see infra, Rucho v. Common Cause, 139
 8
     S.Ct. 2484, 2496 (2019).
 9
10
           2013
11         111. “[B]asic due process and equal protection principles [are]
12   applicable to the Federal Government.” U.S. v. Windsor, 570 U.S. 744,
13   769-70 (2013) (regarding Defense Of Marriage Act) (citing U.S.CONST.,
14
     Fifth Amend.; and Bolling v. Sharpe, 347 U.S. 497 (1954)).
15
16        The liberty protected by the Fifth Amendment's Due Process
          Clause contains within it the prohibition against denying to
17        any person the equal protection of the laws. While the Fifth
18        Amendment itself withdraws from Government the power to
          degrade or demean in the way this law does, the equal
19
          protection guarantee of the Fourteenth Amendment makes
20        that Fifth Amendment right all the more specific and all the
21        better understood and preserved.

22   Windsor, 570 U.S. at 774 (citing Bolling, 347 U.S., at 499–500; and
23   Adarand Constructors, Inc. v. Penã, 515 U.S. 200, 217–218 (1995)).
24         112. As an alternative to an analysis under Windsor, “…the
25
     Citizenship Clause [of the Fourteenth Amendment] guarantees citizens
26
     equal treatment by the Federal Government with respect to civil
27
28
     COMPLAINT - 50
     Case 2:22-cv-00172-MKD     ECF No. 1   filed 07/18/22   PageID.51 Page 51 of 60



 1
     rights.” U.S. v. Vaello Madero, 142 S.Ct. 1539, 1551 (2022) (Thomas, J.,
 2
     Concurring).
 3
 4         2016
 5         113. In the 2016 presidential election, Donald Trump obtained
 6   304 electoral votes to Hillary Clinton’s 227, despite losing the popular
 7
     vote by 2,868,686 votes.
 8
           2019
 9
           114. Abrogating Clemons v. U.S. Dep't of Commerce, supra, the
10
11   Supreme Court explained:
12        In the leading case of Baker v. Carr, voters in Tennessee
          complained that the State’s districting plan for state
13
          representatives “debase[d]” their votes, because the plan was
14        predicated on a 60-year-old census that no longer reflected the
15        distribution of population in the State. The plaintiffs argued
          that votes of people in overpopulated districts held less value
16        than those of people in less-populated districts, and that this
17        inequality violated the Equal Protection Clause of the
          Fourteenth Amendment. The District Court dismissed the
18        action on the ground that the claim was not justiciable,
19        relying on this Court’s precedents, including Colegrove. Baker
          v. Carr, 179 F. Supp. 824, 825, 826 (MD Tenn. 1959). This
20
          Court reversed. It identified various considerations relevant
21        to determining whether a claim is a nonjusticiable political
22        question, including whether there is “a lack of judicially
          discoverable and manageable standards for resolving it.” 369
23        U.S. at 217, 82 S.Ct. 691. The Court concluded that the claim
24        of population inequality among districts did not fall into that
          category, because such a claim could be decided under basic
25        equal protection principles. Id., at 226, 82 S.Ct. 691. In
26        Wesberry v. Sanders, the Court extended its ruling to
          malapportionment of congressional districts, holding that
27
          Article I, § 2, required that “one man’s vote in a congressional
28
     COMPLAINT - 51
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.52 Page 52 of 60



 1        election is to be worth as much as another’s.” 376 U.S. at 8, 84
 2        S.Ct. 526.
 3   Rucho v. Common Cause, 139 S.Ct. 2484, 2496 (2019).
 4         2020
 5         115. The twenty-fourth census counted 331,449,281 resident
 6
     persons in the United States, as of April 1, 2020.
 7
                                       2020
 8                                                        Average
                                                   Change
 9                                        Number          Population
                                                   in
                                          of Seats        Per
10                                                 Seats
          STATE            Population                     District
11        California       39,538,223     52           -1          761,091
12         Texas           29,145,505     38           2           767,981
13         Florida         21,538,187     28           1           770,376
14         New York        20,201,249     26           -1          777,529
15         Pennsylvania    13,002,700     17           -1          765,403
16         Illinois        12,812,508     17           -1          754,279
17         Ohio            11,799,448     15           -1          787,257
18        Georgia          10,711,908     14           0           766,091
19        North
          Carolina         10,439,388     14           1           746,711
20
          Michigan         10,077,331     13           -1          775,726
21
           New Jersey      9,288,994      12           0           774,541
22         Virginia        8,631,393      11           0           786,777
23
           Washington      7,705,281      10           0           771,595
24         Arizona         7,151,502      9            0           795,436
25         Massachusetts 7,029,917        9            0           781,497
26         Tennessee     6,910,840        9            0           768,544
27         Indiana         6,785,528      9            0           754,476
28
     COMPLAINT - 52
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.53 Page 53 of 60



 1
           Maryland       6,177,224       8            0           773,160
 2
           Missouri       6,154,913       8            0           770,035
 3
           Wisconsin      5,893,718       8            0           737,184
 4         Colorado       5,773,714       8            1           722,771
 5        Minnesota       5,706,494       8            0           713,719
 6        South
 7        Carolina        5,118,425       7            0           732,102
          Alabama         5,024,279       7            0           718,579
 8
           Louisiana      4,657,757       6            0           776,911
 9
           Kentucky       4,505,836       6            0           751,557
10
           Oregon         4,237,256       6            1           706,917
11
           Oklahoma       3,959,353       5            0           792,703
12
           Connecticut    3,608,298       5            0           721,660
13
           Utah           3,271,616       4            0           818,813
14
           Iowa           3,190,369       4            0           798,102
15
           Nevada         3,104,614       4            0           777,116
16
           Arkansas       3,011,524       4            0           753,439
17
           Mississippi    2,961,279       4            0           740,979
18
           Kansas         2,937,880       4            0           735,216
19         New Mexico     2,117,522       3            0           706,740
20         Nebraska       1,961,504       3            0           654,444
21         Idaho          1,839,106       2            0           920,689
22
          West Virginia   1,793,716       2            -1          897,523
23        Hawaii          1,455,271       2            0           730,069
24        New
25        Hampshire       1,377,529       2            0           689,545
          Maine           1,362,359       2            0           681,791
26
           Rhode Island   1,097,379       2            0           549,082
27
28
     COMPLAINT - 53
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22    PageID.54 Page 54 of 60



 1                                                                 542,704
           Montana
 2                         1,084,225      2            1           [Smallest]
                                                                   990,837
 3         Delaware
                           989,948        1            0           [Largest]
 4         South Dakota    886,667        1            0           887,770
 5         North Dakota    779,094        1            0           779,702
 6         Alaska          733,391        1            0           736,081
 7         Vermont         643,077        1            0           643,503
 8         Wyoming         576,851        1            0           577,719
 9        ************** *********        ***          **          *******
10         United States   331,449,281 435             7           761,169
11        2022 – The Growing Democracy Deficit
12
     Federal Courts
13
           116. Despite Congress having created 12 territorial Courts of
14
15   Appeals and the Federal Circuit Court of Appeals, hundreds of district

16   courts, numerous Article I and II courts and tribunals, and otherwise
17   dramatically expanded the federal judiciary over the past century, it
18   has left the number of Supreme Court Justices at 9 since 1869.
19
     U.S. Senate
20
          1910 Population Distribution
21
22         117. The U.S. population in 1910 was 92,228,496 persons.

23         118. In 1910, New York was the largest state, with over 9 million
24   residents. The second largest state had over 7 million residents, the
25   third largest had over 5 million residents, and the fourth largest had
26
27
28
     COMPLAINT - 54
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.55 Page 55 of 60



 1
     over 4 million residents. Three (3) states in 1910 had 3 million
 2
     residents.
 3
 4         119. So, the approximately 34 million people residing in the seven
 5   (7) largest states in 1910 were represented by two (2) senators per state
 6   [14 total].
 7
           120. Thirteen (13) states had 2 million residents in 1910. Eleven
 8
     (11) states had one million residents or more; seven (7) states had
 9
     greater than 500,000 residents; and eight (8) states had fewer than
10
11   500,000 residents.
12         121. Thus, 39 of the states in 1910 had fewer than 3 million
13   residents, with each state being represented by two (2) senators.
14
           2020 Population Distribution
15
           122. The U.S. population in 2020 was 331,449,281 persons.
16
           123. In 2020, the seven (7) largest states had, respectively,
17
18   populations of 40 million (CA), 30 million (TX), 22 million (FL), 20
19   million (NY), 13 million (PA), 12 million (IL), and 11 million (OH); with
20   two (2) senators representing each state.
21
           124. So, approximately 148 million residents are represented by a
22
     total of 14 senators
23
           125. Three (3) states in 2020 had populations exceeding 10
24
25   million; one (1) state had 9 million; and the next state had 8 million;
26   with two (2) senators representing each state.
27
28
     COMPLAINT - 55
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.56 Page 56 of 60



 1
           126. Thus, the next 47 million residents are represented by a total
 2
     of ten (10) senators.
 3
 4         127. As of 2020, three (3) states’ populations exceeded 7 million;
 5   four (4) states’ populations exceeded 6 million; and five (5) states’
 6   populations exceeded 5 million; with two (2) senators representing each
 7
     state.
 8
           128. So, these 70 million residents are represented by a total of 24
 9
     senators.
10
11         129. Three (3) states’ populations exceeded 4 million; six (6)
12   states’ populations exceeded 3 million; and three (3) states exceeded 2
13   million; with two (2) senators representing each state.
14
           130. So, these 36 million residents are represented by a total of 24
15
     senators.
16
           131. Finally, eight (8) states had populations greater than 1
17
18   million residents, and six (6) states had populations below 1 million
19   residents; with two (2) senators representing each state.
20         132. So, these 16 million residents are represented by a total of 28
21
     senators.
22
           133. “Remember … Maine”. Congress can subdivide states at any
23
     time with the assent of any given state’s legislature. U.S.CONST., Art.
24
25   IV, § 3.
26         134. As the 576,851 residents of Wyoming have two (2) senators,
27   this provides a minimum size (‘constitutional unit’) for future state
28
     COMPLAINT - 56
     Case 2:22-cv-00172-MKD     ECF No. 1   filed 07/18/22   PageID.57 Page 57 of 60



 1
     creation via subdivision of existing states. Any polity, within any one
 2
     state, having a population equal to or exceeding that of Wyoming
 3
 4   should be entitled to equal footing as Wyoming, in terms of
 5   representation in the Senate, and subdivision into its own state.
 6   House of Representatives
 7
             135. In 1912, when there were 435 congressional districts, the
 8
     average congressional district had 210,328 residents.
 9
             136. The largest district had 228,027 residents; and the smallest
10
11   had 80,293.
12           137. Re-apportionment after the 2020 census was once again
13   constrained by the 435-member cap in place for the past 110 years.
14
             138. The average congressional district had 761,169 residents in
15
     2020.
16
             139. The largest district after 2020 has 990,837 residents (DE),
17
18   and the smallest has 524,704 (MT).
19                              CAUSE OF ACTION
20             Declaratory Relief – 435 Member Cap Unconstitutional
21
             140. Plaintiff re-incorporates the preceding paragraphs as if fully
22
     set forth herein.
23
             141. Claims pursuant to Art. I, § 2 are justiciable, as the
24
25   Constitution “require[s] that ‘one man’s vote in a congressional election
26   is to be worth as much as another’s.’” Rucho v. Common Cause, 139
27   S.Ct. at 2496 (quoting Wesberry v. Sanders, 376 U.S. at 7)).
28
     COMPLAINT - 57
     Case 2:22-cv-00172-MKD   ECF No. 1   filed 07/18/22   PageID.58 Page 58 of 60



 1        In a case of actual controversy within its jurisdiction, … any
 2        court of the United States, upon the filing of an appropriate
          pleading, may declare the rights and other legal relations of
 3        any interested party seeking such declaration, whether or not
 4        further relief is or could be sought. Any such declaration shall
          have the force and effect of a final judgment or decree and
 5
          shall be reviewable as such.
 6
     28 U.S.C. § 2201(a).
 7
           142. 2 U.S.C. § 2a(a), which permanently limits the House of
 8
 9   Representatives to 435 members, deprives citizens and residents of

10   their constitutional right to equal representation in the House of
11   Representatives [U.S.CONST., Art. I, § 2].
12         143. Furthermore, 2 U.S.C. § 2a(a), which permanently limits the
13
     House of Representatives to 435 members, deprives citizens and
14
     residents of their constitutional right to equal representation in the
15
16   electoral college for the presidency [U.S.CONST., Art. II, § 1]

17         144. Congress’ failure to increase or otherwise change the number
18   of Representatives commensurate with the total population of the
19   United States and the relative populations of the several States, and
20
     instead leaving the number [435] unchanged since 1912, and self-
21
     executing since 1941, violates the ‘one person, one vote’ principle.
22
23         145. Particularly when read together with the Art. II, § 1

24   requirements of the ‘electoral college,’ as well as the other above-quoted
25   sections of the Constitution pertaining to voting, the ‘one person, one
26
27
28
     COMPLAINT - 58
     Case 2:22-cv-00172-MKD      ECF No. 1   filed 07/18/22   PageID.59 Page 59 of 60



 1
     vote’ principle must apply to relative district size among the states, as
 2
     well as within each state.
 3
 4                            PRAYERS FOR RELIEF
 5   WHEREFORE, Plaintiff prays for the following relief:
 6         146. That the Court hold that the 435-Member-cap established in
 7
     2 U.S.C. § 2a(a) is unconstitutional in light of Art. I, § 2; Art. II, § 1; and
 8
     the ‘one person, one vote’ principle. Read together the clauses require
 9
     roughly equal district sizes among the States, as well as within each
10
11   State, to give full effect to both Art. I, § 2 and Art. II, § 1.
12         147. That Congress be directed to either create a ratio of member-
13   per-unit-of-population applicable equally to each and every of the
14
     several States; or a sufficient overall whole number of districts to be
15
     apportioned to provide roughly equal district sizes among the States,
16
     as well as within each State, so as to give full effect to both Art. I, § 2,
17
18   and Art. II, § 1.
19         148. For any such other and further relief as the Court may deem
20   to be just and equitable.
21
           Submitted this 18th day of July, 2022,
22
23                                       KSB LITIGATION, P.S.
24
25                                   By:_s/ William C. Schroeder____________
                                       William C. Schroeder, WSBA #41986
26
                                       510 West Riverside Ave., 3rd Floor
27                                     Spokane, Washington, 99201
28
     COMPLAINT - 59
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 1                                   wcs@KSBLit.legal
 2                                   Plaintiff
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     COMPLAINT - 60
